         Case 1:21-cr-00134-CJN Document 20-2 Filed 06/08/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                  Crim. No. 1:21cr134
                                    )
MARK SAHADY,                        )
      Defendant.                    )
____________________________________)

                                              ORDER

       Upon motion of Defendant Mark Sahady and for good cause shown, it is hereby

       ORDERED that this Court’s Order Setting Conditions of Release (Doc. 8) supplant in its

entirety the earlier order setting same by the United States District Court for the District of

Massachusetts of January 21, 2021.

Date: _________________                                ____________________________
                                                       HON. CARL J. NICHOLS
                                                       United States District Judge




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